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UN|TED STATES DlSTR|CT COURT ;.~;Ek `
WESTERN DlSTR|CT OF TENNESSEE
MEMPH|S DlV|S|ON 05 ;j{p;g 25

UN|TED STATES OF AMER|CA

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Cl_&'i'“ll£, U.E. fbi _.".

_v_ 2:04CR20467_01_D ",'.".-'.m. GF 'l”N, §‘Jl'c'.¢\|iPH

CHAUNTA|N FLEM|NG
Kemper Durandl CJA
Defense Attorney

2900 One Commerce Square
Memphis, TN 38103

 

JUDGMENT lN A CRIM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the |ndictment on February 04, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Titie & Section Nature of Offense Offense Numberjsj
Conc|uded
18 U.S.C. § 1791(a)(1) Providing Contraband in Prison 05/16/2004 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |V|andatory
Victims Restitution Act of 1996

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 04/04/1973 Apri| 18, 2005
Deft’s U.S. Nlarshai No.: 20034-076

Defendant’s |V|ai|ing Address:
3803 GlVEN, APT 18
MEMPHIS, TN 38122

UNlTED STATES DlSTR|CT JUDGE

Aprii¢£ j f , 2005

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This document entered on the docket sheet in©§pi

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PROBAT|ON

The defendant is hereby placed on probation for a term of 1 Year.

Whi|e on probation, the defendant shall not commit another federa|, state, or local
crime and shall not illegally possess a firearm, ammunition, or destructive device. The
defendant shall also comply with the standard conditions that have been adopted by this
court (set forth below). |f this judgment imposes a fine or a restitution obligation, it shall be
a condition of probation that the defendant pay any such file or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission ofthe court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, trainingl or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofhcer;

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10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminal lvlonetary Penalties sheet of this judgment,

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall cooperate with DNA collection as directed by the Probation
Officer.

CR|MENAL MONETARY PENALT|ES

The defendant shall paythe following total criminai monetary penalties in accordance
With the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Totai Assessment Total Fine Totai Restitution

$100.00 $100.00

The Specia| Assessment shall be due immediatelyl

FlNE
A Fine in the amount of$ 100.00 is imposed.

REST|TUTION
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
ease 2:04-CR-20467 Was distributed by faX, mail, or direct printing on
Apri129, 2005 to the parties listed.

 

 

Kemper B. Durand

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

i\/lemphis7 TN 38103--552

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

